902 F.2d 27Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rosa Z. BRIGGS, Petitioner-Appellant,v.Raymond ANDREWS, Warden, Federal Correctional Center,Alderson, West Virginia;  US PAROLE COMMISSION;FEDERAL BUREAU OF PRISONS, Respondents-Appellees.
    No. 90-6529.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 12, 1990.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Beckley.  Elizabeth V. Hallanan, District Judge.  (C/A No. 89-830-5)
      Rosa Z. Briggs, appellant pro se.
      Gary L. Call, Assistant United States Attorney, Charleston, W.Va., for appellees.
      S.D.W.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rosa Z. Briggs appeals the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241.  Appellant's action was referred to a magistrate pursuant to 28 U.S.C. Sec. 636(b)(1)(B).  The magistrate recommended that relief be denied and advised appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, appellant failed to object to the magistrate's recommendation.
    
    
      2
      This Court has held that the timely filing of objections to a magistrate's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841 (4th Cir.1985);  United States v. Schronce, 727 F.2d 91 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).   See Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly affirm the judgment of the district court.
    
    
      3
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    